Case 18-11736-BLS   Doc 980-2   Filed 01/26/22   Page 1 of 6




              EXHIBIT A
                    Case 18-11736-BLS       Doc 980-2      Filed 01/26/22    Page 2 of 6


                                    Pachulski Stang Ziehl & Jones LLP
                                            919 North Market Street
                                                  17th Floor
                                            Wilmington, DE 19801
                                                                            December 31, 2021
Alfred T. Giuliano                                                          Invoice 129272
Giuliano Miller & Co.                                                       Client  31270
140 Bradford Drive # C                                                      Matter  00002
West Berlin, NJ 08091
                                                                                    PJK

RE: Contingent Preference Actions

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 12/31/2021
                EXPENSES                                                      $3,543.86
                TOTAL CURRENT CHARGES                                         $3,543.86

                BALANCE FORWARD                                              $10,887.24
                TOTAL BALANCE DUE                                            $14,431.10
Case 18-11736-BLS   Doc 980-2   Filed 01/26/22   Page 3 of 6


                                                               2
                     Case 18-11736-BLS           Doc 980-2         Filed 01/26/22   Page 4 of 6


Pachulski Stang Ziehl & Jones LLP                                                         Page:     3
Giuliano, Alfred T. (Heritage)                                                            Invoice 129272
31270 - 00002                                                                             December 31, 2021




 Expenses
 01/22/2021   DC         31270.00002 Advita Charges for 01-22-21                              7.50
 01/22/2021   LN         31270.00002 Lexis Charges for 01-22-21                               1.32
 01/22/2021   LN         31270.00002 Lexis Charges for 01-22-21                              14.95
 01/25/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                         1.10
 01/25/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                         1.10
 02/02/2021   RE2        SCAN/COPY ( 29 @0.10 PER PG)                                         2.90
 02/04/2021   LN         31270.00002 Lexis Charges for 02-04-21                               2.34
 02/04/2021   LN         31270.00002 Lexis Charges for 02-04-21                               1.55
 02/04/2021   LN         31270.00002 Lexis Charges for 02-04-21                              32.95
 02/16/2021   LN         31270.00002 Lexis Charges for 02-16-21                               0.78
 02/16/2021   LN         31270.00002 Lexis Charges for 02-16-21                               0.78
 02/16/2021   LN         31270.00002 Lexis Charges for 02-16-21                              10.99
 03/01/2021   RE         ( 1 @0.10 PER PG)                                                    0.10
 03/18/2021   LN         31270.00002 Lexis Charges for 03-18-21                              12.77
 03/23/2021   DC         31270.00002 Advita Charges for 03-23-21                              7.50
 03/23/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/23/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 04/08/2021   LN         31270.00002 Lexis Charges for 04-08-21                              85.43
 04/16/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 04/16/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 04/16/2021   RE2        SCAN/COPY ( 9 @0.10 PER PG)                                          0.90
 04/16/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 04/16/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 04/16/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 04/16/2021   RE2        SCAN/COPY ( 36 @0.10 PER PG)                                         3.60
 04/16/2021   RE2        SCAN/COPY ( 108 @0.10 PER PG)                                       10.80
 04/16/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 05/03/2021   RE2        SCAN/COPY ( 24 @0.10 PER PG)                                         2.40
 05/10/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                                         2.20
 05/10/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
                     Case 18-11736-BLS           Doc 980-2         Filed 01/26/22   Page 5 of 6


Pachulski Stang Ziehl & Jones LLP                                                         Page:     4
Giuliano, Alfred T. (Heritage)                                                            Invoice 129272
31270 - 00002                                                                             December 31, 2021


 05/10/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 05/10/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                                         2.20
 05/10/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                                         2.20
 05/10/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 05/10/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                                         2.20
 05/10/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 05/10/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                                         2.20
 05/10/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                                         2.20
 05/10/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                                         2.20
 05/10/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 05/10/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 05/10/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 05/10/2021   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 05/10/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                                         2.20
 05/18/2021   RE2        SCAN/COPY ( 9 @0.10 PER PG)                                          0.90
 05/18/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 05/18/2021   RE2        SCAN/COPY ( 9 @0.10 PER PG)                                          0.90
 05/24/2021   DC         31270.00002 Advita Charges for 05-24-21                              7.50
 05/24/2021   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 05/24/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 06/02/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                         1.10
 06/30/2021   RE         ( 2 @0.10 PER PG)                                                    0.20
 06/30/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 06/30/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 06/30/2021   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 06/30/2021   RE2        SCAN/COPY ( 9 @0.10 PER PG)                                          0.90
 06/30/2021   RE2        SCAN/COPY ( 22 @0.10 PER PG)                                         2.20
 06/30/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                         1.10
 06/30/2021   RE2        SCAN/COPY ( 25 @0.10 PER PG)                                         2.50
 06/30/2021   RE2        SCAN/COPY ( 75 @0.10 PER PG)                                         7.50
 07/07/2021   RE         ( 1 @0.10 PER PG)                                                    0.10
 07/07/2021   RE2        SCAN/COPY ( 9 @0.10 PER PG)                                          0.90
 07/07/2021   RE2        SCAN/COPY ( 30 @0.10 PER PG)                                         3.00
                     Case 18-11736-BLS            Doc 980-2       Filed 01/26/22   Page 6 of 6


Pachulski Stang Ziehl & Jones LLP                                                        Page:     5
Giuliano, Alfred T. (Heritage)                                                           Invoice 129272
31270 - 00002                                                                            December 31, 2021

 07/15/2021   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                         1.50
 07/20/2021   OS         Faegre Drinker Biddle & Reath LLP, SWG                           3,250.00
 07/20/2021   RE2        SCAN/COPY ( 11 @0.10 PER PG)                                         1.10
 12/31/2021   PAC        Pacer - Court Research                                              39.20

   Total Expenses for this Matter                                                      $3,543.86
